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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


SAMANTHA TAVEL A/K/A CANDY                  :
CARTWRIGHT,                                 :
                                            :
                      Plaintiff,            :       CASE NO. __________________
                                            :
v.                                          :
                                            :
MATT RIDDLE, WORLD WRESTLING                :
ENTERTAINMENT, INC., EVOLVE                 :
WRESTLING, INC., AND GABE                   :
SAPOLSKY,                                   :
                                            :
                      Defendants.           :



                                    NOTICE OF REMOVAL


       Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant World Wrestling Entertainment,

Inc. (“WWE”) hereby removes the above-captioned civil action (the “Action”) that was

commenced in the Circuit Court of Cook County (the “State Court”) as Case No. 2020-L-010738.

WWE files this Notice of Removal without waiving any right, defense, affirmative defense, or

motion, including, without limitation, lack of personal jurisdiction over WWE. In support of this

Notice of Removal, WWE states as follows:

I.     Background on this Action

       1.     On October 8, 2020, Plaintiff filed the Complaint in this Action in the State Court.

       2.     WWE, through its registered agent, was served with a copy of the Summons and

Complaint that was filed in the State Court on October 26, 2020.




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       3.      In the Complaint, Plaintiff asserts one count against each of the Defendants,

including WWE, for violation of the Illinois Gender Violence Act, 740 ILCS 82/1 et seq.

       4.      In the Complaint, Plaintiff demands judgment against each of the Defendants,

including WWE, “for an amount in excess of $10,000,000.00 including but not limited to actual

damages, damages for emotional distress, punitive damages, attorneys’ fees and costs.”

II.    Grounds for Removal

       5.      Pursuant to 28 U.S.C. § 1441(a), removal of an action originally filed in state court

is proper in “any civil action brought in a State court of which the district courts of the United

States have original jurisdiction.”

       6.      Additionally, 28 U.S.C. § 1332(a) provides that “[t]he district courts shall have

original jurisdiction of all civil actions where the matter in controversy exceeds the sum or value

of $75,000.00, exclusive of interest and costs, and is between . . . citizens of different states.”

       7.      Removal of this case is proper under 28 U.S.C. §§ 1332 and 1441(a). Specifically,

removal is proper under 28 U.S.C. § 1441(a) because this Court has original jurisdiction over this

Action pursuant to 28 U.S.C. § 1332 in that the matter in controversy exceeds the value of

$75,000.00, exclusive of interest and costs, and is between citizens of different states.

       A.       Citizenship of the Parties

       8.      Plaintiff Samantha Tavel is a citizen of the State of New York.

       9.      Defendant WWE is incorporated under the laws of the State of Delaware, with its

principal place of business in the State of Connecticut. See WWE’s 2019 Form 10-K Cover Page

attached as Exhibit A.

       10.     Defendant Matt Riddle is a citizen of the State of Florida.




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        11.      Defendant Evolve Wrestling, Inc. was incorporated under the laws of the State of

Florida, with its principal place of business in the State of Florida. See Exhibit B.

        12.      Defendant Gabe Sapolsky is a citizen of the Commonwealth of Massachusetts.

        13.      Accordingly, there is complete diversity between the Plaintiff and all of the

Defendants. See Aquino v. C.R. Bard, Inc., No. 18 C 5291, 2018 WL 5717423, at *2 (N.D. Ill.

Nov. 1, 2018) (quoting Slonke v. Wis. Dep’t of Workforce Dev., 734 F. App’x 354, 355 (7th Cir.

2018) (“‘[C]omplete diversity’ means ‘that no defendant may be a citizen of the same state as the

plaintiff.’”).

        B.       Amount in Controversy

        14.      28 U.S.C. § 1446(c)(2) provides that, subject to certain exceptions not applicable

here, “[i]f removal of a civil action is sought on the basis of the jurisdiction conferred by section

1332(a), the sum demanded in good faith in the initial pleading shall be deemed to be the amount

in controversy.”

        15.      In the Complaint, Plaintiff demands judgment against each of the Defendants,

including WWE, “for an amount in excess of $10,000,000.00 including but not limited to actual

damages, damages for emotional distress, punitive damages, attorneys’ fees and costs.”

        16.      Accordingly, the amount in controversy exceeds the sum or value of $75,000.00,

exclusive of interest and costs.

                        *                      *                       *

        17.      Based on the foregoing, this Court properly has subject matter jurisdiction over this

Action under 28 U.S.C. § 1332.




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III.   Procedural Compliance for Removal

       18.     All procedural requirements for removal are satisfied.

       19.     Removal to this Court is proper under 28 U.S.C. §§ 1441(a) and 1446(a) because

this District and Division embrace the State Court in which the Action was filed.

       20.     In accordance with 28 U.S.C. § 1446(a), all process, pleadings, or orders served on

WWE in this Action are attached as Exhibit C.

       21.     In accordance with 28 U.S.C. § 1446(b)(1), this Notice of Removal is being timely

filed within thirty (30) days after service on WWE of a copy of the Summons and Complaint that

was filed in the State Court on October 26, 2020.

       22.     In accordance with 28 U.S.C. § 1446(b)(2)(A), all Defendants consent to the

removal of this Action. See Exhibits D-F.

       23.     In accordance with 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being

served on Plaintiff’s counsel of record in the State Court by U.S. Mail to: John Chwarzynski, Jr.,

HALE & MONICO, 53 West Jackson, Suite 337, Chicago, Illinois 60604, and by email to:

jwc@halemonico.com.

       24.     In accordance with 28 U.S.C. § 1446(d), a copy of this Notice of Removal will be

promptly filed with the Clerk of the Circuit Court of Cook County.



       WHEREFORE, removal of this Action to this Court is proper, and this case is hereby

removed to this Court.




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Dated: November 17, 2020             Respectfully submitted,



                                     /s/ Desiree F. Moore
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                                     Attorneys for Defendant World Wrestling
                                     Entertainment, Inc.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on November 17, 2020, a copy of the foregoing was sent by e-mail
and U.S. Mail, postage prepaid, to:

       John Chwarzynski, Jr.
       HALE & MONICO
       53 West Jackson
       Suite 337
       Chicago, Illinois 60604
       jwc@halemonico.com


                                            /s/ Desiree F. Moore
                                            Desiree F. Moore




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